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                              UNITED STATES DISTRICT COURT
  PHILIP J. DEVLIN             WESTERN DISTRICT OF TEXAS                                 ANNETTE FRENCH
  CLERK OF COURT                    501 West Fifth Street, Suite 1100                     CHIEF DEPUTY
                                         Austin, Texas 78701
                                            October 24, 2024

Zachary Rowen Taylor
Baker & Hostetler LLP
45 Rockefeller Plaza
New York, NY 10111



RE: In Re Cassava Sciences, Inc. Securities Litigation
    1:21-cv-00751-DAE

Dear Counselor,

In reviewing the counselors listed on the referenced case, it was brought to our attention that you
have failed to register for electronic filing and notification with our court.

Pursuant to the Administrative Policies and Procedures for Electronic Filing in Civil and
Criminal Cases in the Western District of Texas, all counsel making appearances in our court
are REQUIRED to register as a filing user when admitted to practice in the Western District or
within 10 days after being granted admission via Pro Hac Vice, whichever comes first.


To register, you will first need a PACER account (if you don’t already have one). Their web
address is PACER.uscourts.gov. Once an account has been approved, follow the steps
outlined below to receive filing privileges to our filing system:
        Login into your individual PACER account.

        Log into Manage My Account, select the Maintenance tab, and select Attorney Admissions/E-
        File Registration or Non-Attorney E-File Registration, whichever is applicable.

        Select Texas Western District.

        Select the role that pertains to you i.e., Attorney Admissions and E-File, Pro Hac Vice, etc.

        Continue utilizing the screens to request access.

Once the request has been received and granted by our court, you will receive an email indicating
that the credentials are valid.

For any additional question on requesting access, please contact PACER at the following:
       PACER Service Center
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       800/676-6856
       pacer@psc.uscourts.gov

Thank you for your prompt attention to this matter.


                                             Sincerely,



                                             Christian Rodriguez, Deputy Clerk
